 2:14-bk-15687 Doc#: 772 Filed: 05/17/18 Entered: 05/17/18 12:38:54 Page 1 of 4



                    IN THE UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF ARKANSAS
                                HELENA DIVISION

IN RE:        TURNER GRAIN MERCHANDISING, INC.                       Case No. 2:14-BK-15687
              Debtor                                                            CHAPTER 7

           FOURTH INTERIM FEE APPLICATION FOR FEES AND
        REIMBURSEMENT OF EXPENSES FOR KEECH LAW FIRM, PA,
    COUNSEL TO THE DEBTOR, AND NOTICE OF OPPORTUNITY TO OBJECT

       Comes now Keech Law Firm, PA (the “Applicant”), special counsel for Chapter 7 Trustee

Randy Rice (“Chapter 7 Trustee”) of Turner Grain Merchandising, Inc. (the “Debtor”), and for its

Fourth Interim Application for Fees and Reimbursement of Expenses incurred during the period

from June 19, 2017 to May 9, 2018 states as follows:

       1.     On October 23, 2014, Debtor filed a voluntary petition for relief under Chapter 11

of the Bankruptcy Code, acting as a Debtor-in-Possession pursuant to 11 U.S.C. §§ 1107 and 1108.

       2.     On October 31, 2014, Debtor filed an Emergency Application to Retain and

Employ Keech Law Firm, PA (the “Application to Employ”) [Doc. No. 27]. After a hearing on

November 11, 2014, the Court entered an Order Approving Emergency Application to Retain and

Employ Keech Law Firm, PA, Notice of Deadline to Object and Final Hearing [Doc. No. 46].

Pursuant to such Order, the Application to Employ was granted nunc pro tunc to the October 23,

2014 petition date. On April 3, 2015, the Court entered its Order Approving Applicant’s First

Interim Application for Fees and Reimbursement of Expenses for the period from October 23,

2014 to February 11, 2015 (the “First Compensation Order”), in aggregate amount of $118,809.50

and expenses in the amount of $8,306.40, for a total of $127,115.90. See Docket No. 227.

       3.     On April 16, 2015, the Applicant applied funds of $120,000.00 in its IOLTA

account towards the balance due on fees and expenses allowed by the Order.
 2:14-bk-15687 Doc#: 772 Filed: 05/17/18 Entered: 05/17/18 12:38:54 Page 2 of 4



       4.     After applications of all credits, the Applicant is still due $7,115.90 per the First

Compensation Order from this estate from the Order approving the First Interim Fee Application

as an allowed Chapter 11 administrative expense.

       5.     On July 7, 2015, the Court entered its Order Approving the Applicant’s Second

Interim Application for Fees and Reimbursement of Expenses for the period from February 12,

2015 to May 19, 2015 (the “Second Compensation Order”) in aggregate amount of $29,463.50

and expenses in the amount of $3,755.44, for a total of $33,218.94 as an allowed Chapter 11

administrative expense. See Docket No. 345.

       6.     At present, there is due, outstanding, and unpaid fees to Applicant as a Chapter 11

administrative expense claim from the First Compensation Order and the Second Compensation

Order an aggregate of $36,579.40 in fees and $3,755.44 in expenses, for a total of $40,334.84 as

allowed Chapter 11 administrative expenses.

       7.     On May 19, 2015, this case converted from Chapter 11 to Chapter 7. See Docket

No. 293.

       8.     Keech Law Firm, PA was retained as special counsel to each of the Chapter 7

trustees in this case pursuant to 11 USC § 327(e). For Richard Cox, see Docket Nos. 311, 312,

317, 337, and 341. For Randy Rice, see Docket Nos. 441 and 445.

       9.     On July 17, 2017 [Docket No. 598], this Court awarded Keech Law Firm, PA fees

of $104,440.00 and expenses of $7,582.80, for a total of $112,022.80 as an allowed Chapter 7

administrative expense (of which $6,300.00 has been paid).

       10.    In performance of its duties as counsel to the Chapter 7 Trustee during the period

from June 19, 2017 to May 9, 2018, Applicant has rendered professional services to the Chapter 7

estate at its customary hourly rates in the aggregate amount of $33,202.80 and incurred necessary



                                                2
    2:14-bk-15687 Doc#: 772 Filed: 05/17/18 Entered: 05/17/18 12:38:54 Page 3 of 4



and reasonable expenses in the amount of $2,670.84, for a total of $35,873.64 in connection with

the Chapter 7 bankruptcy.1

         11.   A summary of Applicant’s billing is attached hereto as Exhibit A for the period of

June 19, 2017 to May 9, 2018. A detailed itemized billing invoice for the same period is also

attached hereto as Exhibit B1 to B27.2

         12.   Applicant seeks approval of this Fee Application, a Chapter 7 administrative

expense. The efforts of the Applicant have benefitted this estate and its creditors.

         13.   NOTICE: NOTICE IS HEREBY GIVEN THAT AN APPLICATION HAS

BEEN FILED BY KEECH LAW FIRM, P.A. FOR ALLOWANCE OF ITS FOURTH

INTERIM APPLICATION FOR FEES AND REIMBURSEMENT OF EXPENSES FOR

SERVICES RENDERED IN THE AMOUNT OF $33,202.80, AND EXPENSES INCURRED

IN THE AMOUNT OF $2,670.84, FOR A TOTAL OF $35,873.64 FOR THE PERIOD OF

JUNE 19, 2017 TO MAY 9, 2018. ANY OBJECTIONS TO APPLICANT’S FOURTH

INTERIM APPLICATION FOR FEES AND REIMBURSEMENT OF EXPENSES MUST

BE MADE IN WRITING AND FILED WITH THE UNITED STATES BANKRUPTCY

COURT, 300 WEST SECOND ST., LITTLE ROCK, ARKANSAS 72201, ON OR BEFORE

TWENTY-ONE (21) DAYS AFTER THE DATE OF THIS APPLICATION, WITH A

COPY MAILED TO KEVIN P. KEECH, KEECH LAW FIRM, P.A., 2011 SOUTH




1
 On November 29, 2016, Chapter 7 Randy Rice reimbursed Applicant for the filing fees of
eighteen Adversary Proceedings in the aggregate amount of $6,300.00. While Applicant has
received reimbursement of these fees, Applicant seeks approval for the payment of these fees in
this request.

2
 A copy of the itemized billing is attached to the original document file with this Court. Parties, if
interested, may obtain an electronic version of such billing by contacting the undersigned counsel,
who will email a copy of same to requesting party.
                                                  3
 2:14-bk-15687 Doc#: 772 Filed: 05/17/18 Entered: 05/17/18 12:38:54 Page 4 of 4



BROADWAY ST., LITTLE ROCK, AR 72206. IF NO OBJECTIONS ARE FILED, THE

COURT MAY ENTER AN ORDER ALLOWING AND ORDERING THE FEES AND

EXPENSES PAID AS REQUESTED. IF OBJECTIONS ARE FILED, A HEARING WILL

BE SET BY THE BANKRUPTCY COURT BY SUBSEQUENT NOTICE.

        WHEREFORE, the Applicant herein requests this Court enter an order authorizing the

Debtor to pay the Applicant fees in the amount of $33,202.80 and incurred necessary and

reasonable expenses in the amount of $2,670.84, for a total of $35,873.64 as more fully reflected

on the attached itemized billing statement as a chapter 7 administrative expense.

        Date: May 17, 2018

                                                     Respectfully submitted,

                                                     KEECH LAW FIRM, PA
                                                     2011 South Broadway Street
                                                     Little Rock, AR 72206
                                                     501.221.3200 (telephone)
                                                     501.221.3201 (fax)

                                              By:    _/s/ Kevin P. Keech____________________
                                                     Kevin P. Keech (Ark. Bar No. 98147)
                                                     kkeech@keechlawfirm.com

                                                     Attorneys for Chapter 7 Trustee


                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the foregoing was filed via
the Court’s ECF System on May 17, 2018, which will send notification of such filing to all
registered parties. Furthermore, the foregoing was sent via U.S. Mail to the following:

        All creditors per the Creditors Matrix accessed from the Court’s ECF System on May 17,
2018.

                                                                            _/s/ Kevin P. Keech__




                                                 4
